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                                       UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                 DENVER REGIONAL OFFICE
                            BYRON G. ROGERS FEDERAL BUILDING
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                              DENVER, COLORADO 80294-1961
 DIVISION OF                                                                           (303) 844-1084
ENFORCEMENT                                                                          carlylez@sec.gov




                                      November 30, 2017



Honorable Denise Cote
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007

       Re:      SEC v. Alpine Securities Corporation
                Case No.: 1:17-CV-04179-DLC

Dear Judge Cote:

       The Plaintiff Securities and Exchange Commission (“SEC”) hereby requests a two-day
extension of time for the SEC to file a Motion for Partial Summary Judgment in this case from
December 4, 2017 to December 6, 2017.

        Pursuant to the Court’s Individual Practice 1.E: (1) the original due date for the SEC’s
Motion for Partial Summary Judgment is December 4, 2017 (see Dkt. 58); (2) this is the first
request for extension of time; and (3) the Defendant Alpine Securities Corporation (“Alpine”)
consents to the requested extension. The requested extension of time would not otherwise affect
the briefing schedule for summary judgment practice previously approved by the Court or any
other case deadlines.

      If the extension is granted, the amended stipulated briefing schedule for summary
judgment practice will be as follows:

       1.       The SEC may file a Motion for Partial Summary Judgment with exemplar SARs
                on or before December 6, 2017.

       2.       Alpine may file an Opposition to SEC’s Motion for Partial Summary Judgment,
                and any Cross-Motion for Summary Judgment, on or before January 12, 2018.
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       3.       The SEC may file a Reply Memorandum in Support of its Motion for Partial
                Summary Judgment, and an Opposition to any Cross-Motion for Partial Summary
                Judgment filed by Alpine, on or before January 26, 2018.

       4.       Alpine may file a Reply Memorandum in Support of its Cross-Motion for
                Summary Judgment on or before February 9, 2018.

        Accordingly, the SEC respectfully requests that the Court approve an extension of time
for the SEC to file a Motion for Partial Summary Judgment from December 4, 2017 to December
6, 2017.



                                            Sincerely,

                                            /s/ Zachary T. Carlyle
                                            Zachary T. Carlyle (pro hac vice)
                                            Terry R. Miller (pro hac vice)



cc:    All counsel of record




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